                  Case 1:04-cr-05029-AWI Document 210 Filed 07/09/10 Page 1 of 2



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      6   Attorney for Defendant,
          JOSE LUIS CABRERA-MENDOZA
      7
                          IN THE UNITED STATES DISTRICT COURT FOR THE
      8
                                    EASTERN DISTRICT OF CALIFORNIA
      9

     10
                                                   ) Case No.: 04-CR-5029 OWW
     11   UNITED STATES OF AMERICA,                )
                                                   ) STIPULATION AND ORDER TO
     12                Plaintiff,                  ) CONTINUE SURRENDER DATE
                                                   )
     13         vs.                                )
                                                   )
     14   JOSE LUIS CABRERA-MENDOZA,               )
                                                   )
     15                Defendant                   )
     16

     17         IT IS HEREBY STIPULATED between the Defendant, JOSE LUIS CABRERA-
     18   MENDOZA, and his attorney of record, ANTHONY P. CAPOZZI, and Plaintiff, by and
     19   through Assistant United States Attorney, Laurel J. Montoya that the surrender date of the
     20   Defendant, JOSE LUIS CABRERA-MENDOZA be continued for a period of 30 days.
     21         The Defendant's new surrender date shall be Monday, August 16, 2010.
     22                                                Respectfully submitted,
     23   Dated: July 9, 2010
     24
                                                             /s/ Anthony P. Capozzi
                                                       ANTHONY P. CAPOZZI,
     25                                                Attorney for Defendant
     26
                                                       JOSE LUIS CABRERA-MENDOZA

     27   Dated: July 9, 2010                                 /s/ Laurel J. Montoya
     28
                                                       LAUREL J. MONTOYA
                                                       Assistant United States Attorney

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                  Case 1:04-cr-05029-AWI Document 210 Filed 07/09/10 Page 2 of 2



      1
                                                   ORDER

      2
                IT IS SO ORDERED. Good cause having been shown, the surrender date of Monday,
      3
          July 12, 2010 shall be extended to Monday, August 16, 2010 by 2:00 p.m. for the Defendant,
      4
          JOSE LUIS CABRERA-MENDOZA.
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      7   Dated: July 9, 2010                           /s/ OLIVER W. WANGER
                                                        UNITED STATES DISTRICT JUDGE
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